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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


 IN RE:                               :                     CASE NO. 09-61855-BEM
                                      :
 TODD ANTHONY SHAW,                   :                     CHAPTER 7
                                      :
       Debtor.                        :
 ____________________________________ :


        MOTION FOR AUTHORITY TO MAKE THIRD INTERIM DISTRIBUTION

           COMES NOW S. Gregory Hays, Chapter 7 trustee (“Trustee”) for the bankruptcy estate

 (the “Bankruptcy Estate”) of Todd Anthony Shaw (“Debtor”), by and through undersigned

 counsel, and files this Motion for Authority to Make Third Interim Distribution (“Distribution

 Motion”). In support of the Distribution Motion, Trustee shows as follows:

                                     Jurisdiction and Venue

           1.    This Bankruptcy Court has jurisdiction to hear this Distribution Motion under 28

 U.S.C. §§ 157 and 1334. This Distribution Motion presents a core proceeding within the

 meaning of 28 U.S.C. § 157(b)(2). Venue is proper before this Bankruptcy Court under 28

 U.S.C. §§ 1408 and 1409.

                                           Background

           2.    On January 26, 2009, (the “Petition Date”), Debtor filed a voluntary petition

 under Chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”) in the United

 States Bankruptcy Court, Northern District of Georgia, Atlanta Division (the “Bankruptcy

 Court”), initiating Bankruptcy Case No. 09-61855-BEM (the “Bankruptcy Case”).

           3.    Trustee is the duly authorized and acting Chapter 7 Trustee for the Bankruptcy

 Estate.


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           4.   Debtor filed this Bankruptcy Case as a no-asset case. [Doc. No. 1 at Page 1].

           5.   Nevertheless, through the efforts of Trustee and his professionals, Trustee is

 currently holding $437,848.44 in the Bankruptcy Estate’s bank account.           The estate funds

 resulted from, among other things, a November 24, 2009 stipulation between the Trustee and

 Zomba Recordings LLC (“Zomba”) [Doc. No. 62] to split the continuing music royalties

 (“Royalties”) owed to the Debtor with 20% being paid to the Bankruptcy Estate and 80% being

 paid to Zomba until Zomba's secured claim is satisfied.         Due to the 2016 sampling of a

 Bankruptcy Estate composition that resulted in a considerable increase in Royalties, the Zomba

 loan was satisfied in early 2019.

           6.   Trustee has employed a broker and intends to locate a purchaser for the

 bankruptcy estate’s rights in the pre-petition compositions and future royalty payments. Trustee

 estimates that the sale of these items will result in significant value to the bankruptcy estate and

 likely allow Trustee to pay a substantial portion of the unpaid non-priority, general unsecured

 claims.

           7.   On November 13, 2019, Trustee filed a motion to make interim distributions

 [Doc. No. 171] (the “First Motion to Make Interim Distributions”), and, on December 19,

 2019, the Court entered an order [Doc. No. 177] granting the First Motion to Make Interim

 Distributions. Thereafter, in accordance with the First Motion to Make Interim Distributions,

 Trustee made a 100% distribution to allowed, secured claimants; a 100% distribution to allowed,

 priority claimants; and a 3.0% initial distribution to timely filed, allowed, general unsecured

 claimants.

           8.   On November 9, 2020, Trustee filed a second motion to make interim

 distributions [Doc. No. 189] (the “Second Motion to Make Interim Distributions”), and, on



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 December 10, 2020, the Court entered an order [Doc. No. 197] granting the Second Motion to

 Make Interim Distributions. Thereafter, in accordance with the Second Motion to Make Interim

 Distributions, Trustee made another 31.1% distribution to timely filed, allowed, general

 unsecured claimants

          9.    As mentioned above, Trustee is in the process of locating a purchaser for the

 bankruptcy estate’s rights in the pre-petition compositions and future royalty payments. In the

 meantime, Trustee would like to make another interim distribution to holders of timely filed,

 non-priority general unsecured creditors.

          10.   To date, Trustee has recovered a total of approximately $1,382,500.00 from the

 bankruptcy estate’s share of the Royalties and has paid administrative expenses totaling

 $403,939.83 relating to costs associated with the maintenance and insurance on the Debtor’s

 primary residence while listed for sale by the Trustee, bank and technology fees, and federal and

 state income taxes on royalty income.

          11.   The deadline for all creditors to file proofs of claim was March 9, 2010. [Doc. No.

 69]. All claims work has been completed.

                                         Relief Requested

          12.   Trustee requests authority from the Bankruptcy Court to pay, through an interim

 distribution, an additional 18.7% distribution to timely filed, allowed, general unsecured

 claimants. All claim issues have been resolved and appropriate reserves have been made for fees

 and expenses associated with the final administration of the bankruptcy case. Attached hereto

 and incorporated herein by reference as Exhibit “A” is a detailed listing of the proposed

 distributions to creditors (the “Interim Distribution Analysis”).




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                                         Basis for Relief

          13.   Contemporaneously with this Distribution Motion, Trustee and the attorneys and

 accountants employed in this Bankruptcy Case will file interim applications for compensation.

 In the third interim application of Trustee, Trustee is requesting approval of $13,243.77 in

 interim compensation and $250.11 in reimbursement of expenses. The requested compensation

 of $13,243.77 represents the statutory allowance of compensation pursuant to 11 U.S.C. § 326.

 Trustee is requesting authority from the Court to pay 100% of his requested interim

 compensation and 100% of his expenses for a total of $13,493.88.

          14.   In the third interim application of Hays Financial Consulting, LLC (“HFC”), as

 accountants for Trustee, HFC is requesting approval of $15,495.00 in interim compensation and

 $180.16 in reimbursement of expenses. HFC is requesting authority from the Bankruptcy Court

 for Trustee to pay 100% of its requested interim compensation and 100% of its expenses for a

 total of $15,675.16.

          15.   In the second interim application of Arnall Golden Gregory LLP (“AGG”), as

 attorneys for Trustee, AGG is requesting approval of $30,295.00 in interim compensation and

 $414.54 in reimbursement of expenses. AGG is requesting authority from the Bankruptcy Court

 for Trustee to pay 100% of its requested interim compensation and 100% of its expenses for a

 total of $30,709.54

          16.   Timely filed, allowed general unsecured claims total $1,379,885.56, as set forth

 on Exhibit “A.” Trustee proposes to make an interim distribution of $257,969.86 (or a 18.7%

 payment) to holders of timely filed, allowed, general unsecured claims. If approved, Trustee will

 have made three total distributions to these non-priority, general unsecured claims totaling 52.8%

 of their claims.



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          17.    The remaining funds for the reserves and additional administrative expense claims

 and the remaining, allowed, general unsecured claims will be approximately $120,000.00.

          WHEREFORE, Trustee respectfully requests that the Bankruptcy Court (i) grant this

 Distribution Motion, (ii) authorize an interim distribution in this Bankruptcy Case on approved

 claims based on the attached Interim Distribution Analysis, and (iii) grant such other and further

 relief as the Court may deem just and proper.

          Respectfully submitted this 9th day of November, 2021.

                                                     ARNALL GOLDEN GREGORY LLP
                                                     Attorneys for Trustee

                                                     By: /s/ Michael J. Bargar
 171 17th Street, NW, Suite 2100                        Michael J. Bargar
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                              EXHIBIT “A” FOLLOWS




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Cash in Bank (11/4/2021)                                                                                          $437,848.44

Reserve for Estimated Tax Payment, 4th Quarter 2021 (Federal)                                                      $56,000.00
Reserve for Estimated Tax Payment, 4th Quarter 2021 (Georgia)                                                      $14,000.00
General Reserve                                                                                                    $50,000.00
                                                                                                                  $120,000.00

Funds for Distribution                                                                                            $317,848.44

Administrative Claims (Pending Fee Applications)                                   Claim                      Proposed Payment
     HFC                              Fees & Exp (10/1/2020 - 10/31/2021)         $15,675.16                       $15,675.16
     Trustee                          Commission & Exp (Thru 10/31/2021)          $13,493.88                       $13,493.88
     AGG                              Fees & Exp (9/27/2019 - 9/28/2021)          $30,709.54                       $30,709.54
                                                                                  $59,878.58                       $59,878.58

Proposed Distribution to Creditors                                                                                $257,969.86

Secured and Priority Claims                                                        Claim        Paid to Date Proposed Payment
      Zomba Recording LLC              POC 2 - Paid in Full                      $443,857.62     $443,857.66            $0.00
      Internal Revenue Service         POC 3P Priority Claim                      $34,604.28      $34,604.28            $0.00
      Georgia Dept of Revenue          POC 5-2 Secured Claim                      $36,112.34      $36,112.34            $0.00
                                                                                 $514,574.24     $514,574.28            $0.00
Unsecured Claims
      Fulton County Tax                POC # 1 - Withdrawn (Dkt#155)                    $0.00         $0.00             $0.00     0.0%
      Internal Revenue Service         POC # 3Ua                                $1,284,229.62   $437,477.61       $240,086.96    18.7%
      Keenan Wilkins                   POC # 4&7 - Disallowed (Dkt # 164&165)           $0.00         $0.00             $0.00     0.0%
      Ronnie Jackson, Jr.              POC # 6-3                                   $95,655.94    $32,585.55        $17,882.90    18.7%
                                                                                $1,379,885.56   $470,063.16       $257,969.86

Tardily Filed Unsecured Claims §726(a)(3)
       Santander Consumer USA Inc.     POC # 8                                     $8,941.03                            $0.00

Fines, Penalties Claims §726(a)(4)
       Internal Revenue Service        POC 3Ub Penalties                         $788,809.12                            $0.00

Total Interim Distributions                                                                                       $317,848.44

Funds Remaining in Bankruptcy Estate After Proposed Distributions                                                 $120,000.00
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                                 CERTIFICATE OF SERVICE

        This is to certify that on November 9, 2021, the undersigned caused to be served a true
 and correct copy of the forgoing Motion for Authority to Make Third Interim Distribution by
 depositing copies of same into the United States mail on the date set forth above, with adequate
 postage affixed thereto to assure delivery by regular first class mail to the following entities at
 the addresses stated:


 Office of the U.S. Trustee                           Todd Anthony Shaw
 362 Richard B. Russell Federal Building              1010 Forest Overlook Drive
 75 Ted Turner Drive SW                               Atlanta, GA 30331
 Atlanta, GA 30303
                                                      Montie Day
 S. Gregory Hays                                      Day Law Offices
 Hays Financial Consulting, LLC                       P.O. Box 1525
 Suite 555                                            Williams, CA 95987
 2964 Peachtree Road NW
 Atlanta, GA 30305-2153




          This 9th day of November, 2021.

                                              By:/s/ Michael J. Bargar
                                                 Michael J. Bargar
                                                 Georgia Bar No. 645709




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